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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

MARKETING INTEGRALE COMPANY                              §
                                                         §
       Plaintiff,                                        §
                                                         §
       v.                                                §
                                                         §       Civil Action No. 4:12-CV-00880
                                                         §
TODD ROBERSON, INDIVDUALLY, ET. AL.                      §
                                                         §
                                                         §
       Defendants.                                       §

                              PLAINTIFF’S NOTICE OF DISMISSAL

 TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Marketing Integrale Company as Plaintiff and files its Notice of

 Dismissal under Federal Rule of Civil Procedure 41(a)(1)(A)(i).                Defendants are Todd

 Roberson,     Individually    (“Roberson”),      Todd       Roberson   d/b/a   bestdamnstocks.com,

 thepennystockguru.com (“Roberson Company”), Mesa Marketing, LLC (“Mesa Marketing”),

 otcbullmarkets.com     (“OTC”),     thebullexchange.com         (“Bull   Exchange”),    and   other

 Defendants whose identifies are unknown at this time. In support, Plaintiff would show the

 court that:

       1.      Defendants Roberson, Roberson Company, OTC, and Bull Exchange have not

 been served with process.

       2.      Defendant Mesa Marketing has been served with process and has not served an

 answer or a motion for summary judgment.

       3.      Plaintiff now moves to dismiss the suit.

       4.      This case is not a class action.

       5.      A receiver has not been appointed in this case.
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     6.      This case is not governed by any federal statute that requires a court order for

dismissal of the case.


     7.      Plaintiff has not previously dismissed any federal- or state-court suit based on or

including the same claims as those presented in this case.


     8.      This dismissal is without prejudice to re-filing as to Plaintiff’s claims against

Defendants for misappropriation of Plaintiff’s trade secrets, and violations of the Stored Wire

and Electronic Communications Act, 18 U.S.C. §§ 2701-2710, and the Computer Fraud and

Abuse Act, 18 U.S.C. § 1030, and for any other claim that Plaintiff has, known or unknown,

against Defendants.

                                           RESPECTFULLY SUBMITTED,

                                           THE DEYON LAW GROUP, PLLC

                                           ___________/s/_______________
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                              CERTIFICATE OF SERVICE

     I certify that on July 10, 2012 a true and correct copy of the foregoing document was
served on the following through the Court’s CM/ECF system:

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Attorneys for Defendant Mesa Marketing, LLC


                                   __________/s/________________
                                         DEREK H. DEYON
